AO 245B (Rev. T NED 10/20 19) Judgment in a Criminal Case



                                          UNITED STATES DISTRICT COURT
                                                EASTERN DISTRICT OF TENNESSEE
                                                     KNOXVILLE DIVISION


 UNITED STATES OF AMERICA                                                      JUDGMENT IN A CRIMINAL CASE

 V.
                                                                               Case Number: 3:20-CR-00115-TLP-HBG(l)
 CHARLES MICHAEL BEATTY

 USM#24521-050                                                                 Kimberly A. Parton
                                                                               Defendant's Attorney



THE DEFENDANT:

181    pleaded guil ty to Count I of the Indictment.
D      pleaded nolo contendere to count(s) which was accepted by the court.
D      was found guilty on count(s) a fter a plea of not g uil ty.


ACCORDINGLY, the court has adjudicated that the defendant is g uilty of the fo llowing offense:

Title & Section                           Nature of Offense                                             Date Violation Concluded Count
 18 U.S.C. § I 038(a)(l )                 Conveying False Information by Hoax                           April 13, 2020

The de fendant is sentenced as provided in pages 2 through 7 of thi s judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984 a nd I 8 U.S.C. 3553.

 D    The defendant has been found not guilty on count(s).
 D    All remaining count(s) as to this de fendant are dismissed upon mo tion of the United States.


          IT IS ORD ERED that the defe ndant shall no ti fy the United States Attorney for this di strict within 30 days of any change of
name, residence, or mailing address until a ll fines, restitu tio n, costs, and special assessme nts imposed by this judgment are fully paid.
If ordered to pay restitutio n, the defendant shall noti fy the court and the United States attorney of any material change in the
defendant's economic circumstances.


                                                                     January I 0, 2022




                                                                     S ignature of Judic ial O fficer

                                                                     Thomas L. Parker, United States District Judge
                                                                     Name & Title of Judicial Officer

                                                                     January 10, 2022
                                                                     Date




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                                                          IMPRISONMENT
The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of time served.

•   The court makes the following recommendations to the Bureau of Prisons:


•   The defendant is remanded to the custody of the United States Marshal.
D The defendant shall surrender to the United States Marshal for this district:
   D at               D a.m. D p.m. on
    •   as notified by the United States
        Marshal.
•   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
    • before 2 p.m. on .
    • as notified by the United States Marshal.
    • as notified by the Probation or Pretrial Services Office.


                                                             RETURN
I have executed this judgment as follows:


Defendant delivered on
       to
       at        ,
       with a certified copy of this judgment.




                                                                  UNITED STATES MARSHAL



                                                                   By
                                                                  DEPUTY UNITED STATES MARSHAL




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                                                    SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of 3 years.



                                                MANDATORY CONDITIONS

 1.   You must not commit another federal, state or local crime.
 2.   You must not unlawfully possess a controlled substance.
 3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release
      from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
            •    The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                 substance abuse. (check if applicable)
 4.   •    You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentencing
           of restitution. (check if applicable)
 5.   ~    You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
 6.   •     You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et
            seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which
            you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
 7.   D     You must participate in an approved program for domestic violence. (check if applicable)

 You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
 attached page.




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                                 STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
~y probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

     1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of
           your release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a
           different time frame.
    2.     After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how
           and when you must report to the probation officer, and you must report to the probation officer as instructed.
    3.     You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
           from the court or the probation officer.
    4.     You must answer truthfully the questions asked by your probation officer.
    5.     You must live at a place approved by the probation officer. If you plan to change where you live or anything about your
           living arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the
           change. If notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the
           probation officer within 72 hours of becoming aware of a change or expected change.
    6.     You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
           officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
     7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses
           you from doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation
           officer excuses you from doing so. If you plan to change where you work or anything about your work (such as your position
           or your job responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the
           probation officer at least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation
           officer within 72 hours of becoming aware of a change or expected change.
     8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has
           been convicted of a felony, you must not knowingly communicate or interact with that person without first getting the
           permission of the probation officer.
    9.     If you are arrested or questioned by a law enforce1J1ent officer, you must notify the probation officer within 72 hours.
    10.    You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything
           that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as
           nunchakus or tasers ).
     11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
           without first getting the permission of the court.
     12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer
           may require you to notify the person about the risk and you must comply with that instruction. The probation officer may
           contact the person and confirm that you have notified the person about the risk.
     13.   You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the mandatory, standard, and any special conditions specified by the court and has
provided me with a written copy of this judgment containing these conditions. For further information regarding these conditions, see
Overview ofProbation and Supervised Release Conditions, available at: www.uscourts.gov.


 Defendant's Signature                                                                               Date




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                                    SPECIAL CONDITIONS OF SUPERVISION
1.       You shall reside at a approved Halfway House and comply with the rules of the facility as long as the program allows as
         directed by the probation officer.

2.       You shall participate in a program of testing and/or treatment for drug and/or alcohol abuse, as directed by the probation
         officer, until such time as you are released from the program by the probation officer.

3.        You must participate in a program of mental health evaluation and treatment, as directed by the probation officer, until such
         time as you are released from the program by the probation officer. You must waive all rights to confidentiality regarding
         mental health treatment in order to allow release of information to the supervising United States Probation Officer and to
         authorize open communication between the probation officer and the mental health treatment provider.

4.       You must take all medication prescribed by the treatment program as directed. If deemed appropriate by the treatment
         provider or the probation officer, you must submit to quarterly blood tests, to determine whether you are taking the
         medication as prescribed.

5.       You shall submit your person, property, house, residence, vehicle, papers, [computers (as defined in 18 U.S.C. § l030(e)(l)),
         other electronic communications or data storage devices or media,] or office, to a search conducted by a United States
         probation officer or designee. Failure to submit to a search may be grounds for revocation of release. You shall warn any
         other occupants that the premises may be subject to searches pursuant to this condition. An officer may conduct a search
         pursuant to this condition only when reasonable suspicion exists that you have violated a condition of your supervision and
         that the areas to be searched contain evidence of this violation. Any search must be conducted at a reasonable time and in a
         reasonable manner.

6.       You shall participate in a program that addresses domestic violence, anger management, or general violence, as directed by
         the probation officer.

7.       You shall submit to psychosexual assessment at your own expense, as directed by the probation officer.

8.       You shall submit to polygraph testing at your own expense, as directed by the probation officer, in order to determine if you
         are in compliance with the conditions of supervision, or to facilitate sex offender treatment. You shall be truthful during
         polygraph evaluations.




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                                             CRIMINAL MONETARY PENALTIES
           The defendant must pay the total criminal monetary penalties under the Schedule of Payments sheet of this judgment.

                                Assessment                 Restitution                        Fine       AVAA Assessment*              JVTA Assessment **
 TOTALS                            $100.00                        $.00                        $.00                   $.00                            $.00

  •     The determination of restitution is deferred until An Amended Judgment in a Criminal Case (A0245C) will be entered
        after such determination.
  •     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
           otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
           victims must be paid before the United States is paid.



 D      Restitution amount ordered pursuant to plea agreement $

        The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
        the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options under the Schedule
        of Payments sheet of this judgment may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 D      The court determined that the defendant does not have the ability to pay interest and it is ordered that:
        0 the interest requirement is waived for the       D    fine                            D      restitution
        0 the interest requirement for the                 D    fine                            D      restitution is modified as follows:


* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after September 13, 1994,
but before April 23, 1996.




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                                                 SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A    ~     Lump sum payment of$100.00 due immediately, balance due
      •     not later than                                 , or
      ~     in accordance with           •C,              •D,              •        E, or     ~    F below; or

 B    •     Payment to begin immediately (may be combined with             •        C,        •    D, or         •      F below); or

 C    O     Payment in equal                     (e.g., weekly, monthly, quarterly) installments of$                        over a period
            of      (e.g., months or years), to commence           (e.g., 30 or 60 days) after the date of this judgment; or

 D    O     Payment in equal                       (e.g., weekly, monthly, quarterly) installments of$                     over a period
            of        (e.g., months or years), to commence           (e.g., 30 or 60 days) after release from imprisonment to a term of
            supervision; or

 E    D     Payment during the term of supervised release will commence within              (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    ~     Special instructions regarding the payment of criminal monetary penalties:


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to U.S. District Court, 800 Market Street, Suite 130, Howard H. Baker, Jr.
United States Courthouse, Knoxville, TN, 37902. Payments shall be in the fonn of a check or a money order, made payable to U.S.
District Court, with a notation of the case number including defendant number.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

 D     Joint and Several
       See above for Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint
       and Several Amount, and corresponding payee, if appropriate.
        • Defendant shall receive credit on his restitution obligation for recovery from other defendants who contributed to the same
       loss that gave rise to defendant's restitution obligation.
 •     The defendant shall pay the cost of prosecution.
 •     The defendant shall pay the following court cost(s):
 •     The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: ( 1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA
assessment, (5) fme principal, (6) fine interest, (7) community restitution, (8) JVTA Assessment, (9) penalties, and (10) costs,
including cost of prosecution and court costs.




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